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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION



     In Re: COOK MEDICAL, INC., IVC FILTERS
     MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
     PRODUCTS LIABILITY LITIGATION                                MDL No. 2570


     This Document Relates to All Actions


                       SECOND AMENDED CASE MANAGEMENT ORDER # 27
                                (BELLWETHER TRIAL PLAN)

              Pursuant to the Court’s Amended Case Management Order No. 25 (Dkt. 10593), this Court

     enters the following scheduling order for the bellwether trial selections (McDermitt (1:18-cv-946-

     RLY-TAB), Burrage (1:18-cv-273-RLY-TAB) and Johnson (1:17-cv-1236-RLY-TAB)):

             1.     Motions for Leave to Amend: All motions for leave to amend the pleadings or to
     joining additional parties in McDermitt shall be filed on or before September 30, 2019. All such
     motions in Johnson shall be filed by January 3, 2020 and in Burrage on March 6, 2020.

             2.     Bellwether Depositions: Case-Specific Fact Deposition in Bellwether Cases shall
     be limited to (1) Plaintiff(s), (2) Plaintiff’s treating physicians, (3) sales representatives directly
     associated with the sale of the specific product implanted in the Plaintiff, and (4) two additional
     fact witnesses. The Parties agree that the sales representatives’ depositions will generally occur
     prior to implanting/retrieval physician depositions. If the Parties disagree regarding the proper
     sequencing of depositions and the sequence of questions in depositions in a specific Bellwether
     Case, they will meet and confer prior to contacting the Court for assistance in resolving the issue.
     Additional Case-Specific Fact Depositions may be taken by agreement or by leave of Court upon
     good cause shown.

            3.      Expert Disclosures: Plaintiffs and Defendants shall make the disclosures required
     by Fed. R. Civ. P. 26(a)(2) in McDermitt, Johnson, and Burrage on or before the date(s) identified
     in Exhibit A.

             4.     Independent Medical Examinations: Any independent medical examinations of the
     Plaintiffs in McDermitt, Johnson, and Burrage shall be requested by Defendants on or before the
     date(s) identified in Exhibit A. The Parties shall follow the protocol outlined for these
     examinations in Case Management Order No. 21 (Dkt. 4978).



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            5.     Close of Discovery: Discovery must be completed in McDermitt, Johnson, and
     Burrage by the dates identified in Exhibit A. Extensions may be granted by agreement or by leave
     of Court upon good cause shown.

             6.       Preliminary Witness & Exhibit Lists: Preliminary witness and exhibit lists in
     McDermitt, Johnson, and Burrage are due on or before the date(s) identified in Exhibit A. The
     lists should reflect the specific potential witnesses and exhibits at each bellwether trial. It is not
     sufficient for a Party to simply incorporate by reference “any witnesses listed in discover” or such
     general statements.

            7.      Motions for Summary Judgment and Daubert Motions: Motions for summary
     judgment and Daubert motions regarding the limitation or exclusion of expert testimony in
     McDermitt, Johnson, and Burrage are due on or before the dates identified in Exhibit A. Responses
     to motions for summary judgment and Daubert motions are due on or before the dates identified
     in Exhibit A. Replies are due on or before the dates identified in Exhibit A. A hearing on Daubert
     motions and motions for summary judgment will be set by a separate order.

             8.      Bifurcation: Any Party who believes that bifurcation of trial is appropriate with
     respect to any issue or claim in McDermitt, Johnson, and Burrage shall notify the Court as soon
     as practicable and no later than the date(s) identified in Exhibit A.

            9.      Motions in Limine: Motions in limine, responses, and replies, in McDermitt,
     Johnson, and Burrage shall be filed in accordance with the dates identified in Exhibit A. A hearing
     on motions in limine will be set by a separate order.

             10.      Deposition Designations: The Parties shall exchange deposition designations in a
     form that lists the portions of the deposition(s), including the specific page and line numbers, that
     the Party intends to offer as evidence at trial. Deposition designations, counter designations, and
     redirect designations and related objections in McDermitt, Johnson, and Burrage shall be filed in
     accordance with the dates identified in Exhibit A. A hearing on deposition designations will be set
     by a separate order.

             11.     Final Witness Lists: All Parties shall file and serve their final witness list, which
     identifies and notifies the other Party of the identity of all witnesses who will attend the trial, in
     McDermitt, Johnson, and Burrage on or before the date(s) identified in Exhibit A. It is not sufficient
     for a Party to simply incorporate by reference “any witness listed in discovery” or such general
     statements. The list of final witnesses shall include a brief synopsis of the expected testimony.

          12.     Final Exhibit Lists: All Parties shall file and serve their final exhibit list in
     McDermitt, Johnson, and Burrage on or before the date(s) identified in Exhibit A.

             13.     Jury Instructions and Verdict Forms: All Parties shall file and serve their proposed
     jury instructions and verdict forms in McDermitt, Johnson, and Burrage on or below the date(s)
     identified in Exhibit A.




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              14.   Stipulations of Fact, Trial Briefs, and Notice to Court of Use of Evidence
     Presentation Equipment: The Parties shall file their stipulations of fact, file and serve their trial
     briefs, and submit their Notice to Court of use of Evidence Presentation Equipment, in McDermitt,
     Johnson, and Burrage on or before the date(s) identified in Exhibit A.

           15.     Final Pretrial Conference: Final pretrial conferences in McDermitt, Johnson, and
     Burrage will be set by a separate order.

            16.     Trial Dates: Trial of McDermitt will begin on April 27, 2020, pursuant to the
     schedule in Exhibit A. Trial of Johnson will begin on October 19, 2020, pursuant to the schedule
     in Exhibit A. Trial of Burrage will begin on February 8, 2021, pursuant to the schedule in Exhibit
     A. Should McDermitt be dismissed or summary judgment granted, Johnson shall take its place as
     the next case to be tried, and the parties shall submit an amended Exhibit A within 7 days of the
     dismissal or judgment.

           17.     Additional Deadlines: Any additional deadlines not specifically referenced above
     for McDermitt, Johnson, and Burrage are set forth in Exhibit A.


     SO ORDERED this ____ day of January 2020.



                                                       RICHARD L. YOUNG, JUDGE
                                                       United States District Court
                                                       Southern District of Indiana


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                             EXHIBIT A




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                                      McDermitt Deadlines


      DEADLINE                                       TASK
        12/6/19    Fact Discovery Closes
        12/13/19   Plaintiff Expert Disclosures & Reports
         1/6/20    Deadline for Conducting Independent Medical Examinations
        1/13/20    Defendant Expert Disclosures & Reports
        2/13/20    Expert Discovery Closes
        2/20/20    Daubert and Summary Judgment Motions
        2/17/20    Affirmative Depo Designations by Page and Line
        2/17/20    Preliminary Witness and Exhibit List
        2/27/20    Counter Depo Designations and Objections
         3/9/20    Re-direct Depo Designations, Responses to Objections, and Objections to
                   Counter Designations
         3/9/20    Motions in Limine and to Bifurcate Issues and Claims
        3/11/20    Final Witness List and Notice of Witnesses to Attend Trial
        3/13/20    Final Exhibit List
        3/16/20    Objections to Re-direct Depo Designations and Responses to Objections
                   to Counter Designations
        3/18/20    Responses to Daubert and Motions for Summary Judgment
        3/23/20    Responses to Motions in Limine
        3/23/20    Responses to Objections to Re-direct Depo Designations & Submit to
                   Court for Rulings
        3/25/20    Parties Submit Stipulations of Facts, Trial Briefs, and Notice to Court of
                   Use of Evidence Presentation Equipment
        3/27/20    Jury Instructions & Verdict Forms
         4/1/20    Replies to Daubert and Motions for Summary Judgment
         TBD       Hearing on Daubert, Summary Judgment, and In Limine Motions
         TBD       Final Pretrial Conference
        4/27/20    Jury Selection
        4/27/20    Trial Start Date




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                                       Johnson Deadlines


      DEADLINE                                          TASK
         4/3/20    Fact Discovery Closes
        4/22/20    Plaintiff Expert Disclosures & Reports
         5/8/20    Deadline for Conducting Independent Medical Examination
        5/22/20    Defendant Expert Disclosures & Reports
        6/22/20    Expert Discovery Closes
         7/6/20    Daubert and Summary Judgment Motions
         7/9/20    Affirmative Depo Designations by Page and Line
         7/9/20    Preliminary Witness and Exhibit List
        7/23/20    Counter Depo Designations and Objections
        7/27/20    Motions In Limine and To Bifurcate Issues and Claims
        7/30/20    Final Witness List and Notice of Witnesses to Attend Trial
         8/6/20    Re-direct Depo Designations, Responses to Objections, and Objections to
                   Counter Designations
        8/13/20    Objections to Re-direct Depo Designations and Responses to Objections to
                   Counter Designations
        8/17/20    Responses to Daubert and Motions for Summary Judgment
        8/20/20    Responses to Motions in Limine
        8/24/20    Responses to Objections to Re-direct Depo Designations & Submit to Court for
                   Rulings
        8/28/20    Parties Submit Stipulations of Facts, Trial Briefs, and Notice to Court of Use of
                   Evidence Presentation Equipment
         9/2/20    Jury Instructions & Verdict Forms
         9/7/20    Replies to Daubert and Motions for Summary Judgment
          TBD      Hearing on Daubert, Motions for Summary Judgment, and Motions in Limine
          TBD      Final Pretrial Conference
        10/19/20   Jury Selection
        10/19/20   Trial Start Date




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                                        Burrage Deadlines


      DEADLINE                                            TASK
         6/17/20   Fact Discovery Closes
         7/17/20   Plaintiff Expert Disclosures & Reports
         8/4/20    Deadline for Conducting Independent Medical Examination
         8/18/20   Defendant Expert Disclosures & Reports
         9/18/20   Expert Discovery Closes
         11/6/20   Daubert and Summary Judgment Motions
         11/2/20   Affirmative Depo Designations by Page and Line
         11/2/20   Preliminary Witness and Exhibit List
        11/11/20   Counter Depo Designations and Objections
        11/13/20   Motions In Limine and To Bifurcate Issues and Claims
        11/18/20   Final Witness List and Notice of Witnesses to Attend Trial

        11/24/20   Re-direct Depo Designations, Responses to Objections, and Objections to Counter
                   Designations
         12/2/20   Objections to Re-direct Depo Designations and Responses to Objections to Counter
                   Designations
         12/4/20   Responses to Daubert and Motions for Summary Judgment
         12/8/20   Responses to Motions in Limine
        12/10/20   Responses to Objections to Re-direct Depo Designations & Submit to Court for
                   Rulings
        12/10/20   Parties Submit Stipulations of Facts, Trial Briefs, and Notice to Court of Use of
                   Evidence Presentation Equipment
        12/14/20   Jury Instructions & Verdict Forms
        12/21/20   Replies to Daubert and Motions for Summary Judgment
          TBD      Hearing on Daubert, Motions for Summary Judgment, and Motions in Limine
          TBD      Final Pretrial Conference
         2/8/21    Jury Selection
         2/8/21    Trial Start Date




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